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 1   WO
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 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Manuel de Jesus Ortega Melendres, on            No. CV-07-2513-PHX-GMS
10   behalf of himself and all others similarly
     situated; et al.                                ORDER RE VICTIM
11                                                   COMPENSATION
                          Plaintiffs,
12
     and
13
     United States of America,
14
                          Plaintiff-Intervenor,
15
     v.
16
     Joseph M. Arpaio, in his official capacity as
17   Sheriff of Maricopa County, Arizona; et al.
18                        Defendants.
19
20          Pending before the Court is the Parties’ Joint Notice of Stipulated Judgment for
21   the Victim Compensation Plan (Doc. 1747).             Both parties acknowledge that
22   compensation to the victims of a contempt falls within the legitimate scope of a civil
23   contempt proceeding. Nevertheless, at the outset of the contempt hearings, the Court

24   expressed concern that to the extent that damages were different than compensation,

25   damages might be more appropriately pursued in a class action pursuant to 42 U.S.C.

26   § 1983.

27          Perhaps as a result, the parties entered negotiations to determine an appropriate

28   alternative procedure by which victims might achieve compensation. In other words,
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 1   victims would have the right to opt to participate in the compensation procedure or,
 2   alternatively assert their rights in a separate § 1983 action or otherwise.
 3          The Joint Notice indicates both the substantial matters on which the parties have
 4   reached agreement as to victims’ compensation as well as the few remaining areas on
 5   which they were unable to reach agreement.           In light of their extensive negotiated
 6   agreement, the Joint Notice also set forth the separate issues pertaining to the
 7   compensation plan on which each desired to preserve appellate rights. The parties also
 8   set forth separate forms of the compensation plan, each incorporating their proposals
 9   where they could not otherwise agree.1        They then asked the Court to rule on the
10   provisions of their plan upon which they could not agree in light of the Court’s earlier
11   guidance on the questions.

12          The principle topic on which the parties could not reach agreement was over the

13   rate of compensation to be paid for wrongful incarceration under their compensation

14   plan—with Plaintiffs and Defendants recommending different rates. At a hearing, the

15   Court expressed that Plaintiffs had not set forth a sufficient evidentiary basis on which it

16   could enter an order resolving this disagreement. In a supplemental response, Plaintiffs
     suggest that the notice be modified to inform potential participants of their right to apply
17
     to either the Court or the Plan Administrator for individualized or representative damage
18
     hearings to achieve their compensation. They also agreed to a cap of $10,000 for the
19
     duration aspect of the compensation resulting from the detention, without that cap
20
     affecting a claimant’s ability to receive other damages arising from his or her detention.
21
     In response, the County while otherwise objecting to the Plaintiff’s proposals, accepted
22
     the $10,000 cap.
23
            While the Court wishes to provide a reasonable compensation plan for victim
24
     claimants, it cannot conclude that it now has an evidentiary basis to resolve the dispute.
25
     Further, the rate offered by the County, (with the increased compensation cap for
26
     1
27    These provisions were supplemented by Defendants’ notice of errata. (Doc. 1749), and
     apparently by the parties’ other supplemental briefing. (Docs. 1772, 1784).
28


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 1   detention of $10,000 agreed to by the parties in the supplemental briefing) may not be an
 2   unreasonable rate for victims who wish to claim it rather than going through the
 3   necessary dislocations offered by a regular or class action lawsuit. The method suggested
 4   by Plaintiffs is akin to multiple separate claims for damages. The Court declines to take
 5   it up, but will enter a compensation order that will provide a method for victims who
 6   wish to pursue it to achieve substantial compensation for the Sheriff’s contempts
 7   consistent with the matters agreed to by all parties. The Plaintiffs also request that the
 8   Court enter judgment jointly and severally against the individual non-party contemnors.
 9   Nevertheless Plaintiffs provide insufficient legal authority for such a step. Sheriff Arpaio
10   is a defendant in his official capacity only. None of the other non-party contemnors are
11   even a party. Even assuming the Court had the authority to make its judgment against

12   Sheriff Arpaio in his official capacity applicable to him and the others in their personal

13   capacities; it would seem to provide only a symbolic benefit at best. As a practical matter

14   most if not all of the individual contemnors would be unable to shoulder the expense

15   involved even of notice, let alone payment, of the compensation amounts. Where the

16   County is a willing participant to provide for compensation, payment is guaranteed here
     for those who opt in to the payment procedure. It is therefore ordered that:
17
     I.     Third-Party, Neutral Claims Administrator
18
19          A.     BrownGreer is designated to serve as a neutral, third-party administrator to
                   manage the Notice and Claims Processing Plan to compensate individuals
20                 who suffered injury as a result of any violations by the MCSO of the
21                 Court’s December 23, 2011 Preliminary Injunction Order.

22          B.     BrownGreer’s fees will be paid by Defendants at rates specified in the price
                   list attached to both parties’ proposals in Doc. 1747.
23
24   II.    Eligibility
25
26          A.     Participation in this scheme for victim compensation is voluntary and is
                   intended as an alternative for eligible individuals to any other means
27                 available for obtaining relief for injuries resulting from alleged violations of
28                 the Court’s Preliminary Injunction. Claimants who submit claims and are
                   determined to be eligible to participate in the plan must waive and


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 1                extinguish any right they might otherwise have to obtain relief for the same
 2                conduct through any other avenue. The rights of any individual who does
                  not participate in the compensation plan will not be affected.
 3
 4          B.    Individuals who have submitted a claim regarding the same conduct in
                  another forum and received a determination, or those who have a pending
 5
                  claim in another forum, are not eligible to participate in this program. If the
 6                individual has a pending claim in another forum, he or she must withdraw
                  such a claim in order to participate in this alternative compensation scheme.
 7
                  As with all other individuals who choose to seek remedies through this
 8                compensation scheme, those who withdraw a claim pending in another
                  forum in order to submit an application under this scheme will be required
 9                to waive and extinguish any right they might otherwise have to obtain relief
10                for the same conduct through any other avenue.
11
            C.    Compensation under this program will be available to those asserting that
12                their constitutional rights were violated as a result of detention by MCSO in
13                violation of the Court’s Preliminary Injunction from December 23, 2011 to
                  May 24, 2013.
14
15          D.    Individuals detained in violation of the Court’s Preliminary Injunction will
16                be eligible for compensation, including in any operation in which MCSO
                  detained persons when they had no basis to do so under state law and
17                transported them somewhere in a motor vehicle in Maricopa County.
18   III.   Compensation Fund
19
            The Board of Supervisors will create a fund of $500,000 for payment of claims
20
     adjudicated in favor of claimants. In the event that amount is exhausted through the
21
22   payment of claims and is insufficient to provide compensation to all successful claimants,
23
     additional claims adjudicated in favor of claimants will be honored and timely paid by the
24
     County through further allocations if necessary. If all claims adjudicated in favor of
25
26   claimants are fully paid out and there remains an unspent sum in the original or any
27   supplemental allocated funds, such amount will revert to the County.
28


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 1   IV.   Notice Plan
 2         A.    BrownGreer will be provided with a budget of $200,000 to spend on notice
 3               and outreach to potentially eligible individuals about the availability of
                 compensation. BrownGreer will utilize its expertise to determine how
 4               monies allocated for notice can most effectively be employed to maximize
 5               the likelihood that potential claimants will be reached.
 6         B.    The notice plan may include use of radio, digital/online and print
                 advertising, earned media placements, and partnership with non-
 7
                 governmental organizations and embassies. It should target individuals in
 8               at least Maricopa County, along the U.S./Mexico Border and in Mexico.
                 Notice will be provided in English and Spanish, with a heavy focus on
 9
                 Spanish-language media and sites.
10
           C.    BrownGreer will consult with the Parties in the development of the notice
11               plan and the text of any notices, press releases or scripts developed. The
12               cost for any such services will be paid out of the notice budget provided for
                 in IV.A. above.
13
           D.    BrownGreer will develop a claim website for the case, a toll-free phone
14               number and an email account, to provide information about how to make a
15               claim. The cost for any such services will be paid out of the notice budget
                 provided for in IV.A. above.
16
           E.    Individual notice will be provided to any individuals identified by the
17
                 Parties as potentially eligible for compensation for whom a current address
18               can be found, i.e., through commercially available database services, and
                 other methods. All costs for such services will be paid out of the notice
19
                 budget provided for in IV.A above.
20
     V.    Claims Adjudication Plan
21
           A.    Claims must be initiated within 365 days from the first issuance of program
22
                 notice by BrownGreer through any public media outlet (which will also be
23               the date when BrownGreer will be ready to begin receiving applications).
24         B.    BrownGreer will be provided a sum of $75,000 in start-up fees to
25               implement the claims processing program.

26         C.    All materials must be available in English and Spanish, and any other
                 languages as needed. Language should be calculated to be understandable
27               to individuals who will be making claims.
28


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 1        D.    In all cases, it is claimant’s burden to establish their entitlement to
 2              compensation by a preponderance of the evidence. BrownGreer will be
                responsible for evaluating the credibility and competency of evidence and
 3              witnesses, and determining the appropriate weight to be assigned to
                evidence adduced.
 4
 5        E.    The Parties recognize that available documentation and testimony may
                already establish a case that some individuals were subject to violations of
 6              the Preliminary Injunction. Thus, a multi-step and multi-track system
 7              ensures that the burden on claimants for whom such uncontested evidence
                exists is reduced and the resources committed to this program are used
 8              efficiently.
 9
          F.    Claim Initiation Form. Claimants will first be required to complete a
10              claim initiation form. This form would ask for the following basic
                information:
11
12              1.    Contact information: current address and phone number where
                      individual can be reached
13
                2.    Identity information: name, name provided to MCSO (if different),
14                    DOB and reliable proof of identity
15
                3.    Details of encounter: date in the applicable time period or 30-day
16                    date range if precise date is unknown, type of encounter (traffic stop,
                      other), and names, address and telephone number of others in
17
                      vehicle (if known)
18
                4.    Approximate length of detention by MCSO. (In cases involving
19                    transfer to ICE/CBP, claimant to provide length of detention up until
20                    release to ICE/CBP custody)

21              5.    Whether claimant will request compensation for additional harms
                      listed in Section V.J.6.a below (using check boxes)
22
23              6.    The form will be signed under oath. Claimants will also sign an
                      acknowledgement and agreement that participation in this program,
24                    extinguishes all other rights they may have to pursue claims against
25                    Defendants based upon the same conduct by MCSO

26              7.    The form will provide claimants with notice as to their
                      confidentiality rights under the program, including any exceptions to
27                    confidentiality, e.g., what and with whom information may be shared
28                    and for what purpose


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 1              8.    The form will also state that claimants are responsible for any tax
 2                    reporting responsibilities that arise out of receiving compensation
                      through this mechanism
 3
          G.    Track Determination. Within 21 days after a Claim Initiation Form is
 4              filed, BrownGreer will make a determination as to whether the claimant
 5              meets the eligibility requirements for participation in the program and, if
                so, what Track (A or B) his or her claim will fall under. BrownGreer will
 6              send any claimants determined not to be eligible for the program a Notice
 7              of Ineligibility, and a follow-up form to eligible claimants and information
                as appropriate.
 8
                1.    Counsel for the Parties will agree in advance on the list of
 9
                      prequalified candidates and provide these names and related
10                    information to BrownGreer.
11              2.    If BrownGreer determines, based on the information in the claim
12                    initiation form, that the person is not eligible to participate in the
                      program, e.g., because s/he was detained outside the eligible period
13                    or the conduct complained of is outside the scope of this case, then
14                    BrownGreer will inform the individual in writing of his/her
                      ineligibility for participation in this program and that no rights that
15                    the individual may have to pursue relief through other avenues have
                      been extinguished.
16
17        H.    Track A. These individuals are “prequalified” to receive compensation and
                will be awarded the minimum amount as set forth in Section VI.A, unless
18              they are requesting compensation for additional harms. The information
19              provided in the Claim Initiation Form will be deemed to have met these
                claimants’ burden, except as to any claim for any harm(s) other than for the
20              detention itself. Individuals whose claims would otherwise be assigned to
21              Track A, but who are seeking compensation for any such additional harm(s)
                shall be assigned to Track B.
22
                1.    Prequalified claimants include any person identified in HSU
23                    spreadsheets as not arrested or detained on suspicion of conduct in
24                    violation of state criminal law, and transferred to ICE/CBP, in the
                      applicable time period, as well as any other individuals that counsel
25                    for Parties can agree appear to have been subject to violations of the
26                    Preliminary Injunction based on available documentation, including
                      MCSO incident reports, CAD data and records from the U.S.
27                    Department of Homeland Security (DHS).
28


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 1              2.    BrownGreer will process claims for only those prequalified
 2                    claimants who complete and submit a Claim Initiation Form.

 3        I.    Track B. All individuals who do not fit into Track A will be placed in
                Track B. These individuals must submit additional claim forms and any
 4              supporting documentation necessary to gather the information in Section
 5              V.J below.
 6              1.    Claimants will be provided with contact information for Plaintiffs’
                      counsel, and informed they may retain other counsel if they desire.
 7
 8        J.    Burden of Proof for Individuals in Track B.
 9              1.    BrownGreer must be persuaded that a claimant has shown an
                      entitlement to some portion or all of the compensation claimed with
10
                      credible and competent evidence, including that s/he was detained in
11                    violation of the Preliminary Injunction, the length of the detention,
                      and the fact, nature, and extent of any additional compensable injury.
12
                      A claimant’s statement, made under oath, shall be considered
13                    admissible evidence.
14              2.    Establishing a prima facie case of a preliminary injunction
15                    violation. In order to establish eligibility for compensation because
                      the claimant was detained in violation of the Preliminary Injunction
16                    in the relevant date range and shift the burden to the MCSO to rebut
                      the claimant’s prima facie case, the claimant must provide the
17
                      following information under oath:
18
                      a. Identity information: name, name provided to MCSO (if
19                       different), DOB and reliable proof of identity
20
                      b. Details of encounter: date (or 30-day date range if precise date is
21                       unknown), type of encounter (traffic stop, other)
22                    c. Approximate location of encounter with officer(s) (e.g., Highway
23                       89, approximately 3 miles north of Fountain Hills)

24                    d. Reason given by MCSO officer(s) for detention (if any)
25                    e. Evidence that MCSO suspected unlawful presence, e.g.,
26                       questioning about immigration status, ICE/CBP inquiry or turned
                         over to ICE/CBP, including details about what happened, e.g., if
27                       ICE/CBP came to site of detention or MCSO transferred claimant
28                       to ICE/CBP



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 1                    f. Approximate length of detention by MCSO (in cases involving
 2                       transfer to ICE/CBP, claimant to provide length of detention up
                         until release to ICE/CBP custody)
 3
                      g. Whether claimant was arrested
 4
 5                    h. Testimony or other evidence that the detaining agency s/he
                         encountered was MCSO (e.g., presence of an MCSO marked
 6                       patrol vehicle, description of the uniform officer was wearing,
                         etc.)
 7
 8              3.    Additional buttressing information for Track B claimants (helpful,
                      not required, but may be considered in weighing PFC elements to
 9                    determine whether the required elements have been established)
10
                      a. Name/badge number of MCSO officer(s) initiating encounter
11
                      b. Physical description of MCSO officer(s) present at the encounter
12
                      c. If encounter was initiated as a traffic stop, the name of the driver
13
                         and/or owner of the vehicle stopped, license plate number of
14                       vehicle stopped, and/or description of vehicle (e.g., blue 1999
                         Chevrolet van)
15
16                    d. Any documentation pertaining to encounter with MCSO officers
                         and/or the claimant’s detention
17
                      e. Identification documentation that was provided to MCSO at the
18                       time of the encounter, if it still exists
19
                      f. Sworn statements of witnesses to the events described by
20                       claimant
21              4.    If a claim form is returned to BrownGreer and appears incomplete,
22                    BrownGreer will return the form to the claimant with instructions to
                      correct the deficiency and return the form within 30 days of receipt.
23                    If the form remains incomplete at that point, BrownGreer will
24                    evaluate it “as is.”
25              5.    MCSO’s Burden to Rebut PFC for Track B Claimants
26                    a. If claimant meets the PFC threshold, MCSO may come forward
27                       with credible, competent evidence that casts doubt on one or
                         more elements of the claim within 60 days of receiving access to
28                       a complete file from BrownGreer. Should MCSO require


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 1                        additional time, it may make an application to BrownGreer to
 2                        have an additional 60 days (up to 120 days total), which
                          BrownGreer will grant provided it is for a reasonable cause (i.e.,
 3                        high volume of claims).
 4                     b. Examples of evidence that can satisfy MCSO’s burden to come
 5                        forward with rebuttal evidence include:
 6                        i. Attestation that MCSO has no record of the encounter alleged
                             by claimant in cases where the MCSO would otherwise have
 7
                             such records
 8
                          ii. Testimonial, sworn statements or other evidence that
 9                            encounter alleged by claimant did not occur
10
                          iii. Documentation showing that claimant’s encounter with
11                             MCSO officers was, in some significant way, other than as
                               represented by claimant
12
13                         iv. Testimonial or other evidence that the length of detention was
                               not as represented by claimant
14
                       c. In any cases where MCSO opts to rebut a case, notice and a copy
15
                          of what MCSO submits will be provided to the claimant if he or
16                        she is not represented by counsel, or any counsel who has entered
                          an appearance and is representing the claimant with respect to his
17                        or her claim. Claimants and, where applicable, his or her counsel
18                        will have 60 days to respond, but may request an extension of 60
                          additional days (up to 120 days total), which BrownGreer will
19                        grant provided it is for a reasonable reason.
20
                 6.    Establishing eligibility for compensation for additional injury
21
                       a. BrownGreer will consider evidence of the following additional
22                        injuries in determining the final award amount:
23
                              i. Damages arising out of physical harm and/or severe
24                               emotional distress that was proximately caused by the
                                 detention, including, but not limited to –
25
26                               1. Ongoing physical harm that occurred as a result of
                                    detention and pain and suffering, if any, arising
27                                  directly out of the physical injury sustained by the
28                                  claimant



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 1                              2. Medical bills paid or other out of pocket costs that
 2                                 arose as a result of physical/emotional harm caused by
                                   detention
 3
                                3. Severe emotional distress that occurred as a result of
 4                                 detention and associated costs, if the claimant can
 5                                 establish by credible and competent evidence physical
                                   manifestation and the need for treatment (i.e., claimant
 6                                 suffered shock or mental anguish manifested by a
 7                                 physical injury)

 8                         ii. Lost Property - value of property confiscated and expenses
                               incurred as a result of the confiscation and in trying to get
 9
                               it back
10
                                1. Car impounded - loss of time / money in getting car
11                                 back
12
                                2. Money taken
13
                                3. Credit/debit cards taken
14
                                4. Identification taken - loss of time/money in getting
15
                                   legitimate and lawful identification returned or
16                                 replaced (not including driver’s licenses seized
                                   because suspended)
17
18                              5. Other items

19                         iii. Detention by ICE/CBP is $35 for each segment of 20
                                minutes. Without affecting a claimant’s ability to receive
20                              other damages arising from his or her detention, a claimant
21                              may not receive more than $10,000 as compensation for
                                the duration of the detention.
22
                           iv. Lost wages, foregone employment opportunities or loss of
23
                               job
24
                                1. Dollar amount of wages lost as a result of being
25                                 detained (must be supported by pertinent
26                                 documentation, e.g., pay stubs from pre-detention
                                   employment)
27
28


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 1                                 2. Other costs associated with lost job, e.g., days spent
 2                                    trying to find new job for which claimant can show he
                                      or she was legally eligible
 3
                                v. Other provable harms
 4
 5                                 1. E.g., if claimant personally incurred and paid legal
                                      fees, or lost housing/had to find other housing as a
 6                                    result of detention and associated expenses
 7                    b. The absence of documentation of out of pocket costs will not
 8                       automatically disqualify an individual from receiving compensation
                         for that injury if there is a reasonable explanation for the absence
 9                       and alternative corroborating evidence, such as affidavits from
10                       individuals with direct personal knowledge about the relevant issue
                         (such as treating medical providers) other than the claimant.
11
                      c. A Social Security number (or other government identification
12
                         number) will be requested of all claimants to process a claim for
13                       compensation to permit BrownGreer to ensure claim integrity.
                         Claim forms shall state prominently that a Social Security number is
14                       not required in order to receive compensation; however, if a person
15                       who has a Social Security Number or Resident Alien Number is
                         requesting compensation for out of pocket medical expenses, that
16                       number must be reported to receive that part of the compensation
17                       claim. Government identification numbers will be excised from all
                         documents provided to the parties, except in cases where the
18                       individual is claiming compensation for out of pocket medical
19                       expenses. In such a case, a government identification number will
                         be provided.
20
                      d. BrownGreer will be responsible for determining whether any tax
21                       documentation is required to be issued in conjunction with paying
22                       out claims, and be responsible for issuing such document that may
                         be necessary for Maricopa County as the payor (i.e., 1099s, W2s).
23
24               7.      Interviewing Track B claimants and other witnesses

25                       a. Either claimant or MCSO may demand the right to have
                            BrownGreer question witnesses in any case in which the
26                          credibility and/or bias of one or more witnesses may be in issue.
27                          Either party may, but is not required to, submit questions to be
                            asked of the witness(es) in such interviews. Both parties and
28                          Plaintiffs’ class counsel may be present at such interviews.


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 1                           Claimant will be given notice if he or she or their witness are to
 2                           be interviewed, and may be represented by Plaintiffs’ counsel or
                             their own representative. For witnesses not in Maricopa County,
 3                           efforts will be made to accommodate their interview, such as
                             interviews by Skype or other video conference technology.
 4
 5                       b. Interviews will be limited to 30 minutes, and both parties may
                            submit questions to BrownGreer to ask, although BrownGreer
 6                          has the authority to ask additional questions to enable them to
 7                          determine the veracity of the claims.

 8   VI.    Minimum Compensation for Detention
 9          A.    Claimants will be awarded a base amount of $500 for detention lasting up
10                to one hour, if the individual is detained past 20 minutes. Claimants will be
                  awarded an additional base amount of $35 for each additional 20 minute
11                segment of detention thereafter (or any portion thereof). Without affecting
12                a claimant’s ability to receive other damages arising from his or her
                  detention, a claimant may not receive more than $10,000 as compensation
13                for the duration of the detention.
14          B.    These base amounts are in addition to any compensation that BrownGreer
15                may award for additional injury under Section V.J.6.a.
16   VII.   No Appeal. Any party has the ability to request reconsideration of BrownGreer’s
17
            decision by BrownGreer, but otherwise has no right of appeal.
18
     VIII. Award Disbursement. Defendants will set up an account to which BrownGreer
19
20          will have access for the purpose of paying out claims adjudicated in favor of
21          claimants, with at least monthly accounting to the County showing all
22
            disbursements made.
23
24   IX.    Confidentiality. A protective order shall be sought to maintain the confidentiality

25          of personally identifying information of claimants and other individuals mentioned
26
            in or who submit evidence in support of claimants’ applications, as well as
27
28          confidential documents from the U.S. Department of Homeland Security (DHS)



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 1         and its components. Other information, such as the claim amounts will not be
 2
           subject to a protective order.
 3
     X.    Program Reporting. BrownGreer will create an online reporting portal where the
 4
 5         parties can access claim tracking and processing information, including processing
 6
           times, and create downloadable reports. BrownGreer will also be available to
 7
           directly provide any reports to the Court, if necessary, at no additional cost, other
 8
 9         than reasonable travel expenditures.
10   XI.   Attorneys’ Fees. If claimant successfully pursues compensation through the use
11
           of an attorney on a Track B claim, that attorney will be entitled to fees, not to
12
13         exceed $750, and not more than the amount the claim award, so long as an MCSO

14         attorney participated in the claims process. MCSO will be considered to have
15
           used an attorney in the claims process if it files an objection or otherwise
16
           participates in the claims process and: (1) an attorney representing MCSO makes
17
18         an appearance before BrownGreer; or (2) indicates on the objection/response form
19
           to BrownGreer that it used an attorney.
20
     IT IS SO ORDERED.
21
22         Dated this 19th day of August, 2016.
23
24
25                            Honorable G. Murray Snow
                              United States District Judge
26
27
28


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